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          IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF FLORIDA
                  TALLAHASSEE DIVISION


ANDREW H. WARREN,

                   Plaintiff,              Case No. 4:22-cv-302-RH-MAF
v.
RON DESANTIS, individually and in
his official capacity as Governor of the
State of Florida,

               Defendant.
___________________________________

      DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO
                   PLAINTIFF’S COMPLAINT
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      Defendant Ron DeSantis1 (“Defendant”) makes the following admissions,

denials, and defenses in answer to each numbered paragraph2 in Plaintiff Andrew H.

Warren’s (“Plaintiff”) Complaint and writes:

                            NATURE OF THE CASE

      1.     This is a legal conclusion and does not warrant a response; otherwise,

denied.

      2.     This is a legal conclusion and does not warrant a response; otherwise,

denied.

      3.     Admitted.

      4.     This is a legal conclusion and does not warrant a response; otherwise,

denied.

      5.     This is a legal conclusion and does not warrant a response; otherwise,

denied.

      6.     This is a legal conclusion and does not warrant a response; otherwise,

denied.




1
  Plaintiff’s caption is styled to assert claims against Ron DeSantis “individually and
in his official capacity as Governor of the State of Florida;” however, Plaintiff makes
no allegations supporting any claims as to DeSantis in his personal capacity. To the
extent any of Plaintiff’s allegations or claims are construed to apply to DeSantis in
his individual capacity, those allegations and claims are denied.
2
  To the extent the Complaint includes headings that purport to include additional
allegations, those allegations are denied.


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      7.     This is a legal conclusion and does not warrant a response; otherwise,

denied.

      8.     Admitted Plaintiff sued Defendant for a purported violation of the First

Amendment; otherwise, denied.

                         JURISDICTION AND VENUE

      9.     Admitted Plaintiff purports to assert a claim against Defendant;

otherwise, denied.

      10.    Admitted this Court has jurisdiction to hear Claim I pursuant to 28

U.S.C. § 1331; otherwise, denied.

      11.    Denied. Count II was dismissed.

      12.    Denied. Count II was dismissed.

      13.    Admitted the Court has jurisdiction over Defendant in his official

capacity; denied the Court has jurisdiction over Defendant in his individual capacity.

No claims or facts were asserted against Defendant in his individual capacity.

      14.    Admitted.

      15.    Admitted the Court has certain authority pursuant to 28 U.S.C. §§ 2201

and 2202 and Rules 57 and 65; otherwise, denied.




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                                     PARTIES

      16.    To the extent the allegations in paragraph 16 call for a legal conclusion,

no response is warranted; otherwise, denied.

      17.    Admitted Defendant is the Governor of Florida and Plaintiff accurately

describes the claims Plaintiff has brought. All other statements are legal conclusions

that do not warrant a response.

      18.    Admitted.

      19.    Admitted.

                            STATEMENT OF FACTS

      20.    Admitted Plaintiff was admitted to the Florida Bar in 2003; otherwise,

denied because Defendant lacks sufficient knowledge or information to respond.

      21.    Denied; Defendant lacks sufficient knowledge or information to

respond.

      22.    Admitted Plaintiff was elected State Attorney for Florida’s 13th

Judicial Circuit in November 2016; denied as to the date on which he took his oath

of office and began service because Defendant lacks sufficient knowledge or

information to respond.

      23.    Admitted Plaintiff was reelected in 2020; otherwise, denied.

      24.    Denied; Defendant lacks sufficient knowledge or information to

respond.



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      25.    Denied; Defendant lacks sufficient knowledge or information to

respond.

      26.    Denied; Defendant lacks sufficient knowledge or information to

respond.

      27.    This is a legal conclusion and does not warrant a response; otherwise,

denied.

      28.    This is a legal conclusion and does not warrant a response; otherwise,

denied.

      29.    This is a legal conclusion and does not warrant a response; otherwise,

denied.

      30.    This is a legal conclusion and does not warrant a response; otherwise,

denied.

      31.    Denied.

      32.    Admitted Plaintiff stated his position on a number of matters while in

office; denied as to any characterization of those positions.

      33.    Admitted Plaintiff co-signed a Joint Statement and quoted that

statement and the statement is attached to the Executive Order; denied as to any

characterization of the statement’s subject matter.




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      34.    Admitted Plaintiff co-signed a Joint Statement and quoted that

statement and the statement is attached to the Executive Order; denied as to any

characterization of the statement’s subject matter.

      35.    Admitted Plaintiff quoted the statement; denied as to any

characterization of the statement’s subject matter.

      36.    Denied; Defendant lacks sufficient knowledge or information to

respond.

      37.    Denied; Defendant lacks sufficient knowledge or information to

respond.

      38.    Denied; Defendant lacks sufficient knowledge or information to

respond.

      39.    Admitted Plaintiff implemented the Presumptive Non-Prosecution

Policies; otherwise, denied.

      40.    Admitted Plaintiff quoted the Presumptive Non-Prosecution Polices

and that they are attached to the Complaint; otherwise, denied.

      41.    Admitted that the quoted language is from the Bike Stop Policy;

otherwise, denied.

      42.    Denied.

      43.    Admitted that the quoted language is from the Bike Stop Policy;

otherwise, denied.



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      44.    Admitted that the quoted language is from the March 2021 Policy;

otherwise, denied.

      45.    Admitted that the quoted language is from the March 2021 Policy;

otherwise, denied.

      46.    Denied.

      47.    Denied.

      48.    Admitted that Florida voters passed Amendment 4 (though they did so

in 2018) and that it relates to felon voting rights; denied as to Mr. Warren’s support

for that law, as Defendant lacks sufficient knowledge or information to respond.

      49.    Denied.

      50.    Denied; Defendant lacks sufficient knowledge or information to

respond.

      51.    Admitted Defendant signed an executive order; otherwise, denied.

      52.    Denied; Defendant lacks sufficient knowledge or information to

respond to this allegation.

      53.    Admitted Defendant signed HB 1, considered it a priority, and held a

press conference to announce the same; otherwise, denied.

      54.    Admitted the hyperlink goes to a Tweet purportedly posted by Plaintiff

and Plaintiff quoted the Tweet; otherwise, denied.

      55.    Denied.



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      56.    Denied.

      57.    This is a legal conclusion and does not warrant a response.

      58.    Admitted Defendant signed Executive Order 22-176; otherwise,

denied.

      59.    Admitted Plaintiff was escorted from his office; otherwise, denied.

      60.    Admitted.

      61.    Admitted Defendant held a press conference and announced Plaintiff

had been suspended; otherwise, denied.

      62.    Admitted the hyperlink goes to a Tweet posted by non-party Christina

Pushaw and Plaintiff quoted the Tweet; otherwise, denied.

      63.    Admitted Defendant held a press conference, which was recorded and

is available at the link provided by Plaintiff; otherwise, denied.

      64.    Admitted     the   hyperlink       goes   to   a Tweet   posted   by the

@GovRonDeSantis Twitter account and Plaintiff quoted the Tweet; otherwise,

denied.

      65.    This is a legal conclusion and does not warrant a response.

      66.    Denied; Defendant lacks sufficient knowledge or information to

respond.

      67.    Denied.

      68.    Denied.



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      69.    Admitted Defendant signed the Executive Order, which is attached to

the Complaint and speaks for itself; otherwise, denied.

      70.    Denied as phrased.

      71.    Admitted the hyperlink goes to a Tweet posted by non-party Christina

Pushaw and Plaintiff quoted the Tweet; any implication that this Tweet is somehow

attributable to the Governor is denied.

      72.    Admitted the hyperlink goes to a Fox News Webpage and Plaintiff

quoted from it; otherwise, denied.

      73.    Admitted the hyperlink goes to the State Attorney’s Office for the 13th

Judicial Circuit; otherwise, denied.

      74.    Admitted Plaintiff provided a YouTube link, which appears to be a

video of Susan Lopez; otherwise, denied.

      75.    Admitted Plaintiff provided a link to a press release, which appears to

have been posted by the State Attorney’s office; otherwise, denied.

      76.    Admitted Plaintiff provided a link to an article posted by WFLA;

otherwise, denied.

                                       CLAIM I

                          Violation of First Amendment

                               U.S. Const. Amend. I

            42 U.S.C. § 1983, Ex parte Young, 28 U.S.C. §§ 2201, 2202



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      77.    Defendant realleges and incorporates by reference paragraphs 1

through 76 as though fully set forth herein.

      78.    This is a legal conclusion and does not warrant a response.

      79.    This is a legal conclusion and does not warrant a response.

      80.    This is a legal conclusion and does not warrant a response; otherwise,

denied.

      81.    Admitted Defendant is Florida’s Governor; the remaining allegation is

a legal conclusion and does not warrant a response.

      82.    Admitted that Plaintiff was elected but has been suspended from his

office.

      83.    This is a legal conclusion that; otherwise, denied.

      84.    Admitted that Plaintiff co-signed a Joint Statement with other

prosecutors in June 2021; otherwise, denied. The document speaks for itself.

      85.    Admitted that Plaintiff co-signed another Joint Statement with other

prosecutors in June 2022; otherwise, denied. The document speaks for itself.

      86.    Denied; Defendant lacks sufficient knowledge or information to

respond.

      87.    Admitted Defendant provides quotations from the Joint Statement,

which speaks for itself; otherwise, denied.




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      88.    Admitted neither Joint Statement cites a specific Florida statute by

number.

      89.    Denied as phrased.

      90.    Denied.

      91.    Denied as phrased.

      92.    Admitted.

      93.    Admitted.

      94.    The Executive Order, which is attached to the Complaint speaks for

itself; otherwise, denied.

      95.    Denied.

      96.    Denied.

      97.    Denied.

      98.    Denied.

      99.    This is a legal conclusion and does not warrant a response.

      100. To the extent the allegations in paragraph 100 call for a legal

conclusion, no response is warranted; otherwise, denied.

      101. Denied.

      102. Denied.

      103. Denied.

      104. Denied.



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      WHEREFORE, Defendant respectfully requests the Court dismiss Plaintiff’s

claim with prejudice, deny Plaintiff’s Prayer for Relief, and grant any and all other

relief deemed just and proper.

                                     CLAIM II

                    Quo Warranto under Florida State Law

                             Fla. Const. art. IV, § 7(a)

                              28 U.S.C. §§ 2201, 2202

      The Court granted Defendant’s Motion to Dismiss Count II. Therefore,

paragraphs 105–131 do not warrant a response. To the extent they do, the allegations

are denied.

                          AFFIRMATIVE DEFENSES

              First Affirmative Defense – Failure to State A Claim

      132. Plaintiff fails to state a valid claim for relief, because Plaintiff’s speech

was not protected. Plaintiff was speaking pursuant to his office and duties and

engaged in government speech that is not protected by the First Amendment. See

Garcetti v. Ceballos, 547 U.S. 410 (2006); Parks v. City of Horseshoe Bend, 480

F.3d 837, 840 n.4 (8th Cir. 2007); Hartman v. Register, No. 06-cv-33, 2007 WL

915193, at *6 (S.D. Ohio Mar. 26, 2007); Hogan v. Twp. of Haddon, No. 04-cv-

2036, 2006 WL 3490353, at *6 (D.N.J. Dec. 1, 2006).




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      133. Plaintiff fails to state a valid claim for relief due to lack of causation or

proximate cause. Defendant did not suspend Plaintiff due to any protected speech.

Rather, Defendant suspended Plaintiff for legitimate, non-retaliatory reasons based

upon his announced course of conduct. Based on Plaintiff’s express pledge not to

enforce validly enacted Florida laws with which Plaintiff disagrees, Defendant

concluded Plaintiff would not enforce certain criminal statutes, which is a valid, non-

retaliatory ground for suspension. Defendant’s intent was not to suppress or penalize

Plaintiff’s protected speech.

      134. Plaintiff also fails to state a valid claim for relief because Defendant’s

Executive Order is presumed correct and proper, and Defendant had good cause to

suspend Plaintiff. See United States v. Chemical Foundation, 272 U.S. 1, 14–15

(1926); and Nieves v. Bartlett, 139 S. Ct. 1715, 1728 (2019).

                 Second Affirmative Defense – Same Decision Defense

      135. Regardless of any alleged protected speech, Defendant would have

suspended Plaintiff anyway. Mt. Healthy City Sch. Dist. Bd. of Educ. v. Doyle, 429

U.S. 274, 287 (1977). Defendant would have suspended Plaintiff for his expressed

blanket refusal to prosecute certain cases in the absence of any protected speech.

                   Third Affirmative Defense – Qualified Immunity

      136. Plaintiff fails to allege any facts or causes of action against Defendant

in his individual capacity. However, to the extent any allegations or causes of action



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are found to apply to Defendant in his individual capacity, Defendant is entitled to

qualified immunity against any and all damages, costs, and fees based on

Defendant’s reasonable conclusion that Plaintiff would not faithfully execute Florida

laws.

  Fourth Affirmative Defense – Failure to Exhaust Administrative Remedies

        137. Plaintiff has failed to exhaust his administrative remedies, which are

afforded to him through his abated Senate Trial, and his claims are not ripe.

                  Fifth Affirmative Defense – Younger Abstention

        138. There is a state judicial proceeding through the Senate which will

implicate important state interests, and Plaintiff has an adequate opportunity in the

Senate proceeding to address his suspension and removal. Younger v. Harris, 401

U.S. 37 (1971).

            Sixth Affirmative Defense – Lack of Equitable Authority

        139. This Court lacks the power to reinstate Mr. Warren, because “federal

equity power [cannot] be exercised to enjoin a state proceeding to remove a public

officer.” Baker v. Carr, 369 U.S. 186, 231 (1962); accord Fineran v. Bailey, 2 F.2d

363, 363 (5th Cir. 1924) (“It is well settled by the decisions of the Supreme Court

that a District Court of the United States has no jurisdiction over the appointment

and removal of public officers.”).




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                Seventh Affirmative Defense – Political Question

      140. The Court should refrain from exercising jurisdiction or issuing

injunctive relief on political question grounds, because it will require the Court to

invade the authorities and privileges of the executive branch and to decide policy

determinations reserved for non-judicial discretion. See Baker, 369 U.S. at 209.

          Eighth Affirmative Defense – Unclean Hands/Limitation on Damages
                                      and Relief

      141. Plaintiff’s suspension was justified based on the reasons stated in the

Executive Order. However, Plaintiff’s suspension could be warranted and supported

based on additional non-retaliatory reasons, whether learned by the Governor before

or after Plaintiff’s initial suspension. To the extent these additional legitimate bases

are uncovered and proven, Plaintiff is not entitled to reinstatement and his damages

will be limited. McKennon v. Nashville Banner Publishing Co., 513 U.S. 352

(1995).




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 Respectfully submitted this 3rd day of October 2022.

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                        CERTIFICATE OF SERVICE

      I hereby certify that on October 3, 2022, a true and correct copy of the
foregoing document was served upon all counsel of record via email, as follows:

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